Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 1 of 374




          COMPOSITE EXHIBIT A
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 2 of 374



                                                                                                                                                                   3456789 36
                                                                                                                                                                  ÿ
         ÿ       !"ÿ#$ #%&$&' &'$(
                                       #$                                         ÿ)(%                                  *$$            &'$$"     +(ÿ)!
    ,-2,22 ,0./0-000 1ÿ 0012512,22          67897:                          8;<=ÿ3ÿ>?@1ABC=                          DBC?BE              F             G
        2 13223,0./0-4
                         H$(ÿ                               H$(ÿ)(%                                       I$$&'(                         JÿK#
        >1L1FA8FMÿN1OO71Gÿ7PQ7:                   NR:S1
        T BMÿN<Uÿ7                               VV87F1G
        W8F7 QÿP7ÿS78RDMÿ>>                      D>PFVPOO                                     T8FMÿN8AQRÿ7                          X-0/.
        N8R7F>PAWÿ:1L1>8DW1FVÿF1V987T             :1O1F:FV                                     W 1>78GMÿ:FÿNF1                     Y/XZ,-
        :8678L8>ATGMÿ>P>G                        :1O1F:FV                                     W 1>78GMÿ:FÿNF1                     Y/XZ,-
        W[SU?=MÿN\ÿN                           VV87F1G
        W[1=]Mÿ:BÿNB                          VV87F1G
     #&^_$
                                                                        H`ÿaÿb                         Icc
       K`        #&^ÿd      I^$&'ÿ#$                                                              #^%$&'                                                 H`
               //           ,-12012,25      F ;?[ÿeÿVf?BEÿ: ?;?Bÿ:U[ÿV[U\                                                                              X
               /5           ,-12012,25      F ;?[ÿeÿVf?BEÿ: ?;?Bÿ:U[ÿV[U\                                                                              X
               /2           ,-10X12,25      F ;?[ÿeÿA=g?[ÿeÿPB;==E                                                                                        2
               /0           ,-10X12,25      7hU;ÿe=ÿD=CU[;?B                                                                                                Z
               /,           ,-10/12,25      F ;?[ÿA1>1 VP8Fÿ8OÿW1:PV87MÿQ i=CÿV[<=Mÿhj                                                                 2
               5Z           ,-10,12,25      8=C=ÿ1k;BC?BEÿV?\ÿi?ÿ<gÿ-,ÿC]ÿe=\ÿ;<ÿC;ÿeÿ;<ÿ<=?BEÿlNUBÿYM2,25                                     2
               5Y           ,-1,012,25      W ;?Bÿ;ÿA;=?fÿee?=\;?gÿ:eB                                                                                X
               5.           ,X15012,25      7 BÿPFÿ8DD8APVP8FÿV8ÿD>PFVPOOmAÿW8VP8FÿO87ÿ10V1FAP8Fÿ8OÿVPW1ÿV8ÿA17L1ÿ:1O1F:FVÿ9PVQÿD78 1AA                 /
               5-           ,X15012,25      F ;?[ÿeÿA=g?BEÿD= ÿe=ÿA;;\B;                                                                             2
               5X           ,X12512,25      RB?e=\ÿ8=C=ÿA;;?BEÿD=;=?ÿ:C?Bÿ,532232,2/ÿ;ÿZn,,ÿW                                                       .
               5/           ,X10Z12,25      ee?Cg?;ÿ8Oÿ8WD>PF 1ÿRF:17ÿA1 VP8Fÿ/Yj0-0ÿO>87P:ÿAVVRV1A                                                       0Y
               55           ,X10.12,25      Bi=ÿoÿee?=\;?gÿ:eB                                                                                      0,
               52           ,X10.12,25      73F ;?[ÿeÿQ=?BE                                                                                                2
               50           ,X10.12,25      W ;?Bÿe=ÿ1k;B?BÿeÿV?\                                                                                           2
               5,           ,X10212,25      F ;?[ÿeÿQ=?BE                                                                                                   2
               2Z           ,X1,X12,25      F ;?[ÿeÿA=g?[ÿeÿPB;==E                                                                                        /
               2Y           ,X1,X12,25      7hU;ÿe=ÿC\??B                                                                                               2
               2.           ,/12-12,25      8=C=ÿS=B;?BEÿ?BÿD=;ÿBCÿ:B]?BEÿ?BÿD=;                                                                         2
               2-           ,/12,12,25      AU\\ Bÿ7;U=BCÿRB=gC                                                                                          2
               2X           ,/12,12,25      W ;?Bÿe=ÿ1k;B?BÿeÿV?\                                                                                           02
               2/           ,/10Z12,25      AU\\ Bÿ7;U=BCÿRB=gC1RBk[U;Cÿ>?]ÿ: @=gf]                                                              2
               25           ,/10/12,25      7]ÿ8Oÿ:1O1F:FVÿN8R7F>PAWÿ:1L1>8DW1FVÿF1V987TMÿPF jÿPFÿARDD87Vÿ8OÿPVAÿ8W6PF1:ÿW8VP8FÿV8ÿ:PAWPAAÿ8WD>PFVÿF:   0/
                                            V8ÿAV7PT1ÿ:1WF:ÿO87ÿVV87F1GmAÿO11A
               22           ,/10,12,25      AU\\ BÿPUB[ÿ3ÿ?ÿ>P>Gÿ:8678L8>ATG                                                                       2
               20           ,/1,/12,25      8=C=ÿS=B;?BEÿ?BÿD=;ÿBCÿ:B]?BEÿ?BÿD=;ÿW8VP8FÿO87ÿ8R7VÿV8ÿ71 8SFPp1ÿA17LP1ÿ6Gÿ8VQ17                            2
               2,           ,515012,25      7 Bÿ;ÿW ;?B                                                                                                   0-
               0Z           ,515,12,25      F ;?[ÿeÿ=B[                                                                                                2
               0Y           ,515,12,25      7 B                                                                                                           -
               0.           ,512212,25      F ;?[ÿeÿQ=?BE                                                                                                   2
               0-           ,512,12,25      W ;?Bÿe=ÿ8=C=ÿW8VP8FÿO87ÿ8R7VÿV8ÿ71 8SFPp1ÿA17LP1ÿ6Gÿ8VQ17ÿ0W1FAÿRF:17A1 VP8Fÿ/Yj0,2MÿO>87P:ÿAVVRV1A           0/
               0X           ,51,012,25      E=Cÿ8=C=                                                                                                       2
               0/           ,51,012,25      W ;?Bÿe=ÿ1k;B?BÿeÿV?\                                                                                           2
               05           ,212Y12,25      F ;?[ÿeÿQ=?BE                                                                                                   2
               02           ,210X12,25      8=C=ÿ8BÿÿA;;Uÿ Be=B[                                                                                      2
               00           ,21,212,25      F ;?[ÿeÿQ=?BE                                                                                                   2
               0,           ,012-12,25      W ;?Bÿ;ÿ:?\?                                                                                                    00/
               Z            ,012-12,25      F ;?[ÿeÿ=B[ÿVQ8WAÿo\qÿ>8 P178ÿD>                                                                        2
               Y            0212Z12,22      8=C=ÿ1k;BC?BEÿV?\                                                                                               2
               .            0210212,22      AU\\ BÿPUB[                                                                                                  2
               -            021,Y12,22      AU\\ Bÿ7;U=BCÿA=gCÿ021212,22                                                                                  0
               X            0012Z12,22      AU\\ BÿPUB[                                                                                                  2
               /            0012Y12,22       =fmÿ=;?e?[;ÿeÿ \?B[ÿ932,2,3.5 PL12,2,3./3RO ÿF8F1                                                       0
               5            0012512,22         \?B;ÿlO?Cr                                                                                                .X
               2            0012512,22       ?g?ÿ g=ÿA<;                                                                                                   5
               0            0012512,22      D=ÿ8A 2,325ÿ\C02Mÿÿ?ÿC;=\?BCÿSB=
     +"`ÿI`''$ÿs$&(
                                                                                                                                                                                012
Case 0:23-cv-61256-AMC
            23345678ÿ 7 Document
                             48ÿ1-2
                                    7  Entered on FLSD
                                                  844ÿ47Docket 06/30/2023
                                                                                 7 Page 3 of 374
      ÿ!ÿ"#$ %
     &'ÿ()763
               ()76ÿ 7                               857                             '*7ÿ7                          +' 4'6                           ,'37'                       7768 6ÿ2 '67
     ÿ!ÿ"#$ %
     -46 64ÿ.// 
                                                                                                       -46 64ÿ.// 
      0!!!!1$2                            32456ÿ789:%;;                                  <4=ÿ2ÿ>426ÿ789:%;;                                              ?454$ÿ>#6ÿ7;%;;
      @!2=2#2=$                           32456ÿ7;%;;                                    <4=ÿ2ÿ>426ÿ7;%;;                                                ?454$ÿ>#6ÿ7;%;;
                                                                                                         -46 64ÿ7 43
                    &'6                             233733/76ÿ7                 233733/76ÿ, 48ÿ'ÿ 7                        A7344'6ÿ7                   A7344'6ÿ, 48ÿ'ÿ 7                + 3ÿ, /76ÿ 7
      ;                                    789:%;;                             789:%;;                             7;%;;                               7;%;;                         B
     3C=!ÿ=$"142=$ÿ"52!ÿ2Cÿ"=$4$=45ÿD5=E42=$!ÿ!CF$ÿ$ÿ2CÿG5=4ÿH1IC$!=JÿH4!ÿK$"142=$ÿLM!21ÿNHHKLOÿ"ÿ3PKLÿH0LQÿRST%ÿGÿ2Cÿ#$2ÿD454$!ÿ"ÿM#ÿ"=$4$=45ÿD5=E42=$!UÿM#ÿ!C#5ÿ$242
     2CÿH5Vÿ"ÿ2CÿH#2ÿ=$ÿ2Cÿ#$2MÿFCÿ2Cÿ"=$4$=45ÿD5=E42=$ÿF4!ÿ=1I! %ÿ2C=$Eÿ=$ÿHHKLÿ452!ÿ4$Mÿ"=$4$=45ÿD5=E42=$ÿ=1I! ÿDMÿ4ÿ#2%

     A7'76ÿW43'
                                A7'76ÿ 7                                                          A7'76ÿ&'37ÿ 7                                                         A7'76ÿA7 3'6
      ÿ!ÿ"#$ %




                                                                                                                                                                                                                          010
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 4 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 5 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 6 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 7 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 8 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 9 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 10 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 11 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 12 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 13 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 14 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 15 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 16 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 17 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 18 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 19 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 20 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 21 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 22 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 23 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 24 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 25 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 26 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 27 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 28 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 29 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 30 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 31 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 32 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 33 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 34 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 35 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 36 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 37 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 38 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 39 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 40 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 41 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 42 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 43 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 44 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 45 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 46 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 47 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 48 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 49 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 50 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 51 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 52 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 53 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 54 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 55 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 56 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 57 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 58 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 59 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 60 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 61 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 62 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 63 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 64 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 65 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 66 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 67 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 68 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 69 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 70 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 71 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 72 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 73 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 74 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 75 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 76 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 77 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 78 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 79 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 80 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 81 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 82 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 83 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 84 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 85 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 86 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 87 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 88 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 89 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 90 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 91 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 92 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 93 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 94 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 95 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 96 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 97 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 98 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 99 of 374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 100 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 101 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 102 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 103 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 104 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 105 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 106 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 107 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 108 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 109 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 110 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 111 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 112 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 113 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 114 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 115 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 116 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 117 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 118 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 119 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 120 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 121 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 122 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 123 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 124 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 125 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 126 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 127 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 128 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 129 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 130 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 131 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 132 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 133 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 134 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 135 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 136 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 137 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 138 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 139 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 140 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 141 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 142 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 143 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 144 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 145 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 146 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 147 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 148 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 149 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 150 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 151 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 152 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 153 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 154 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 155 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 156 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 157 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 158 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 159 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 160 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 161 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 162 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 163 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 164 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 165 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 166 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 167 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 168 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 169 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 170 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 171 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 172 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 173 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 174 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 175 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 176 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 177 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 178 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 179 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 180 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 181 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 182 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 183 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 184 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 185 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 186 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 187 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 188 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 189 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 190 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 191 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 192 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 193 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 194 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 195 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 196 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 197 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 198 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 199 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 200 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 201 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 202 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 203 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 204 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 205 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 206 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 207 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 208 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 209 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 210 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 211 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 212 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 213 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 214 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 215 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 216 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 217 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 218 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 219 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 220 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 221 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 222 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 223 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 224 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 225 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 226 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 227 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 228 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 229 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 230 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 231 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 232 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 233 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 234 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 235 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 236 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 237 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 238 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 239 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 240 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 241 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 242 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 243 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 244 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 245 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 246 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 247 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 248 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 249 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 250 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 251 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 252 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 253 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 254 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 255 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 256 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 257 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 258 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 259 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 260 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 261 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 262 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 263 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 264 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 265 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 266 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 267 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 268 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 269 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 270 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 271 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 272 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 273 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 274 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 275 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 276 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 277 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 278 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 279 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 280 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 281 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 282 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 283 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 284 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 285 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 286 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 287 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 288 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 289 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 290 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 291 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 292 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 293 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 294 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 295 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 296 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 297 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 298 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 299 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 300 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 301 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 302 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 303 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 304 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 305 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 306 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 307 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 308 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 309 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 310 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 311 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 312 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 313 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 314 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 315 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 316 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 317 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 318 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 319 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 320 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 321 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 322 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 323 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 324 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 325 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 326 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 327 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 328 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 329 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 330 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 331 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 332 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 333 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 334 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 335 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 336 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 337 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 338 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 339 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 340 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 341 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 342 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 343 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 344 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 345 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 346 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 347 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 348 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 349 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 350 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 351 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 352 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 353 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 354 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 355 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 356 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 357 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 358 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 359 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 360 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 361 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 362 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 363 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 364 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 365 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 366 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 367 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 368 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 369 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 370 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 371 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 372 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 373 of
                                     374
Case 0:23-cv-61256-AMC Document 1-2 Entered on FLSD Docket 06/30/2023 Page 374 of
                                     374
